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EXHIBIT A
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AGREEMENT OF PURCHASE AND SALE HA
This Agreement of Purchase and Sale ("Agreement"), made this / / day of
February, 2011(the "Effective Date"), is entered into by and between Jim Dobbas, Inc,
a California corporation ("Seller"), and David van Over, an individual as an
unmarried man ("Buyer").

Recitals

A. Seller is the owner of an undivided fifty percent (50%) interest in that certain
real property located in the unincorporated community of Elmira ("City"), Solano
County ("County"), State of California, commonly known as APNs 0142-042-010,
0142-010-130 and 0142-010-140 and more particularly described on Exhibit A attached
hereto (the "Real Property"). The Property is adjacent to, or nearby, a Union Pacific
Railroad rail spur.

B. The Real Property has constructed thereon two (2) buildings (the "Buildings")
containing a total of approximately 18,216 square feet, related improvements
(collectively, the "Improvements". If, and to the extent Seller has mineral or other
rights in the Property (“Additional Property Rights”), such rights are intended to be
transferred to Buyer. The Real Property, Improvements and Additional Property Rights
are hereinafter collectively referred to as the "Property".

C. Buyer desires to purchase from Seller, and Seller desires to sell to Buyer, the
Property pursuant to the terms of this Agreement.

NOW, THEREFORE, in consideration of the foregoing recitals and the mutual
covenants contained herein, the parties agree as follows:

Apreement

1. Purchase and Sale. Seller agrees to sell and convey to Buyer, and Buyer agrees
to purchase from Seller, the Property on the terms set forth in this Agreement.

2. Purchase Price. The purchase price ("Purchase Price") for the Property shall
be One Dollar ($1.00) and shall be payable at the Transfer of Title (defined below).

3. Transfer of Title. For purposes of this Agreement, "Transfer of Title" shal]
be defined as the date that the Quit Claim Deed is recorded in the Official Records of the
County. The Transfer of Title shall occur on the Effective Date unless extended by the
mutual written consent of the parties.

4. Condition of Title. Title to the Property shall be conveyed to Buyer by Seller

by a quit claim deed, which shall be in the form attached hereto as Exhibit B i
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EXHIBIT A - DOBBAS CROSSCLAIM
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Claim Deed"). Buyer agrees and acknowledges that it is taking title subject to the Deed
Restriction and Environmental Lien described in Section 8; all real estate taxes and
assessments which are liens upon the property; all applicable laws, ordinances, rules; all
governmental regulations (including, but not limited to those relative to building, zoning
and land use) affecting the development, use, occupancy or enjoyment of the property; all
matters apparent from the inspection of the property; and all other title matters affecting
the property, whether or not of record (collectively, "Approved Condition of Title").

5. Costs and Expenses. Buyer and Seller shall equally share the cost of: (i) any
local transfer tax imposed by the City, and (1i) any documentary transfer tax imposed by
the County.

6. Prorations.

(a) Taxes/Assessments. At the Transfer of Title, Seller shall pay the 201]
second installment of real estate taxes and assessments for the Property. From and after
the Effective Date, Buyer shall be responsible for all real estate taxes, assessments,
supplemental taxes or assessment bonds related to the Property and Seller shall be
released from any and all obligations thereunder.

(b) Other Expenses. All other expenses for the Property shall be prorated as
of 11:59 p.m. on the day prior to the Transfer of Title between the parties based upon the
latest available information.

(c) Corrections. If any errors or omissions are made regarding adjustments
and prorations as set forth herein, the parties shall make the appropriate corrections
promptly upon discovery thereof. If any estimates are made at the Transfer of Title
regarding adjustments or prorations, the party shall make the appropriate correction
promptly when accurate information becomes available. Any corrected adjustment or
proration shall be paid in cash to the party entitled thereto.

7. Review of Documents and Materials. Buyer acknowledges that due to time
constraints, Seller cannot provide all of the documents in its possession concerning the
Property to Buyer. Within ten (10) business days following the Effective Date, Seller
shall make available to Buyer, those documents which Buyer may reasonably request,
such request to be made in writing within five (5) business days following the Effective
Date (collectively, "Documents and Materials"). Seller makes no representation or
warranty regarding the truth or accuracy of the Documents and Materials. All such
documents and materials shall be subject to that certain Bilateral Confidentiali
Agreement with an effective date of February 1, 2011 between the parties.

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EXHIBIT A - DOBBAS CROSSCLAIM
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8. Environmental Disclosures.

(a) Deed Restriction. The Property is subject to that certain Covenant to
Restrict Use of Property dated October 27, 1995 (“Deed Restriction”), Buyer
acknowledges its receipt of a copy of the Deed Restriction and agrees and acknowledges
that it is taking the Property subject to the Deed Restriction. Buyer agrees and
acknowledges that Seller will have no liability for the performance of any obligations
required by the Deed Restriction following the Effective Date and that Buyer will assume
any liability Seller has related to or arising from the Deed Restriction following the
Effective Date. Buyer acknowledges that the land described herein contains hazardous
substances. Such condition renders the land and the owner, lessee, or other possessor of
the land subject to requirements, restrictions, provisions, and liabilities contained in
Chapter 6.5 and Chapter 6.8 of Division 20 of the Health and Safety Code. This

‘statement is not a declaration that a hazard exists.

(b) Former Uses/Hazardous Substances. As previously disclosed in the
Letter of Intent dated February 7, 2011, the Property is a former wood treatment facility.
Operations at the Property included treating lumber with preservative solutions
containing arsenic, chromium and copper. Investigations by third parties have shown that
soils on the Property have been affected by these inorganic metals. Groundwater beneath
the Property and beneath adjacent properties has also been contaminated by chromium,
copper and arsenic. The cost to complete the investigation, remediation and monitoring
of the hazardous substances associated with the former wood treatment facilities is
uncertain. The California Department of Toxic Substances Control (“DTSC”) has
jurisdiction over the environmental conditions at the Property and has been providing
oversight since approximately 1982. A Proof of Claim was filed by DTSC in the
bankruptcy proceedings of the former owner, Collins and Aikman Products.

(c) Environmental Lien. On November 22, 2010, a lien was recorded by
DTSC against Seller’s interest in the Property in the amount of $883,348
(“Environmental Lien”), Buyer acknowledges its receipt of a copy of the Environmental
Lien and agrees and acknowledges that it is taking the Property subject to the
Environmental Lien. Buyer agrees and acknowledges that Seller will have no liability for
the Environmental Lien following the Effective Date and that Buyer will assume any
liability Seller has for the Environmental Lien following the Effective Date.

(d) Environmental Disclosure Documents. Additional information
concerning the above described hazardous substances on and around the Property has
been provided by Seller to Buyer, including, but not limited to, the documents listed on
Exhibit “C”, “Environmental Disclosure Documents.” Buyer acknowledges that third
parties, rather than Seller, have performed the majority of the investigation, remediation
and monitoring activities at the Property and as such Seller does not have many of the

technical work plans or reports that describe environmental conditions on the “he

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As required by California Health & Safety Code section 25359.7, Buyer
acknowledges that it has been advised in writing that a release of hazardous substances

has come to be located on or beneath the Property.
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9. "As-Is" Purchase. BUYER HEREBY ACKNOWLEDGES AND AGREES
THAT IT IS ACQUIRING THE PROPERTY IN ITS PRESENT "AS IS/WHERE IS
WITH ALL FAULTS" CONDITION AND WITH ALL DEFECTS (INCLUDING SOIL
AND GROUNDWATER CONTAMINATION) AND NEITHER SELLER NOR ANY
EMPLOYEE OR AGENT OF SELLER HAS MADE OR WILL MAKE, EITHER
EXPRESSLY OR IMPLIEDLY (AND SELLER SPECIFICALLY NEGATES AND
DISCLAIMS) ANY REPRESENTATIONS, GUARANTIES, PROMISES,
STATEMENTS, ASSURANCES OR WARRANTIES OF ANY KIND CONCERNING
THE PROPERTY. BUYER ACKNOWLEDGES AND AGREES THAT BUYER HAS
THE RIGHT TO INVESTIGATE THE PROPERTY PRIOR TO THE EFFECTIVE
DATE AND TO PERFORM ANY AND ALL REASONABLE TESTS, INCLUDING
ENVIRONMENTAL SAMPLING, ON THE PROPERTY TO DETERMINE THE
CONDITION OF THE PROPERTY, FEASIBILITY OF THE PROPERTY FOR
BUYER’S INTENDED USE THEREOF AND ANY OTHER PAST, PRESENT OR
FUTURE MATTER RELATING TO THE PROPERTY WHICH MAY AFFECT THE
PROPERTY, BUYER’S LIABILITY OR ITS CURRE R FUTURE USE,
HABITABILITY, VALUE OR DESIRABILITY.

Buyer's Initials!

10. Buyer’s Compliance with Environmental Regulatory Directives, Orders and
Applicable Environmental Laws. Buyer agrees and acknowledges that it is assuming
responsibility and liability for the hazardous substances on, at, beneath or emanating
from, the Property following the Effective Date and that Seller will have no liability for
the hazardous substances on, at, beneath or emanatmg from, the Property following the
Effective Date. Commencing on the Effective Date, Buyer shall, at its sole cost, promptly
comply with all applicable environmental laws (whether in existence as of the Effective
Date or thereafter promulgated) and all applicable regulatory agency directives, orders
and policies pertaining to the Property and/or related to or arising from hazardous
substances on, at, beneath or emanating from, the Property. Buyer agrees that it shall
promptly provide written notice to DTSC in the form of the letter attached as Exhibit
“D”, with a copy to Seller, of its interest in the Property, and assumption of responsibility
for compliance with all laws as set forth herein.

11, Buyer’s Indemnification of Seller. Commencing on the Effective Date, Buyer
shall indemnify, defend and hold harmless Seller (and its officers, shareholders, directors,
employees, representatives and agents) against claims, costs, cost recovery actions
government orders (including, but not limited to, any orders issued or threatene

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DTSC even if such orders are issued or threatened on or after the Effective Date, but
before the Transfer of Title), expenses, fees (including, but not limited to Attorneys’ fees
or consultant fees), losses, penalties, liens (including, but not limited to, the
Environmental Lien), judgments or damages (collectively, “Claims”) related to or arising
from the hazardous substances on, at, beneath or emanating from, the Property regardless
of whether such Claims arose before or after the Effective Date, the Deed Restriction or
challenges by third parties to validity or enforceability of this Agreement. Buyer agrees
and acknowledges that the obligations pursuant to this Section 11 shall survive the
Transfer of Title.

12. Buyer’s Release of Seller. Commencing on the Effective Date, Buyer shall
release Seller (and its officers, shareholders, directors, employees, representatives and
agents) against claims, costs, cost recovery actions, government orders (including, but not
limited to, any orders issued or threatened by DTSC) expenses, fees (including, but not
limited to Attorneys’ fees or consultant fees), losses, penalties, liens (including, but not
limited to, the Environmental Lien), judgments or damages (collectively, “Claims”)
related to or arising from the hazardous substances on, at, beneath or emanating from, the
Property regardless of whether such Claims arose before or after the Effective Date, the
Deed Restriction or challenges by third parties to validity or enforceability of this
Agreement. This release is intended by Buyer to be a general release. Buyer is aware of
the provisions of California Civil Code Section 1542, which reads as follows:

"A general release does not extend to claims which the creditor does not know or
suspect to exist in his or her favor at the time of executing the release, which if
known by him or her must have materially affected his or her settlement with the
debtor."

Buyer hereby expressly waives all the benefits of Section 1542 and any other
similar law of any jurisdiction. Buyer understands and further agrees that it may later
discover facts different from, or in addition to, those which it now believes to be true, but
nonetheless agrees herein that this Agreement shall be and remain in effect in all respects
notwithstanding such different or additional facts or Buyer’s discovery thereof.
Nevertheless, Buyer intends to release and forever discharge Seller as set forth above.

To the best of Seller’s actual knowledge (without the duty to investigate) at the
time of the Effective Date, there are no impending liens or claims against the Property
other than those previously described in Section 8 of this Agreement.

13. Notices. All notices or other communications required or permitted
hereunder shall be in writing, and shall be personally delivered or sent by registered or
certified mail, postage prepaid, return receipt requested, or sent by electronic facsimile
and shall be deemed received upon the earlier of (i) if personally delivered, the date of
delivery to the address of the person to receive such notice, (ii) if mailed, on the

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posting by the United States Post Office, or (iii) if given by electronic facsimile, when
received by the other party.

TO SELLER: Jim Dobbas, Inc.
300 Taylor Road
Newcastle, CA 95658
Attention: Don Dobbas
Facsimile: (916) 663-4376

With a copy to:

Nicole R. Gleason

Downey Brand LLP

621 Capitol Mall, 18" Floor
Sacramento, CA 95814
Facsimile: (916) 520-5743

TO BUYER: David van Over
216 F Street #108
Davis, CA 95616
Facsimile: (530) 231-6372

Notice of change of address shall be given by written notice in the manner
described in this Section.

14, Brokers. Buyer and Seller represent and warrant that neither party has used a
real estate broker in connection with the sale of the Property and no real estate brokerage
commission is due or payable upon the consummation of the transactions herein. If any
claims for brokers’ or finders' fees for the consummation of this Agreement arise, then
Buyer hereby agrees to indemnify, hold harmless and defend Seller from and against such
claims if they shall be based upon any statement, representation or agreement by Buyer,
and Seller hereby agrees to indemnify, hold harmless and defend Buyer if such claims
shall be based upon any statement, representation or agreement made by Seller.

15. Miscellaneous.

(a) Partial Invalidity. If any term or provision of this Agreement or the
application thereof to any person or circumstance shall, to any extent, be invalid or
unenforceable, the remainder of this Agreement, or the application of such term or
provision to persons or circumstances other than those as to which it is held invalid or
unenforceable, shall not be affected thereby, and each such term and provision of this
Agreement shall be valid, and shall be enforced to the fullest extent permitted by law.

(b) Waivers. No waiver of any breach of any covenant or provision herein

contained shall be deemed a waiver of any preceding or succeeding breach thereof,or of
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any other covenant or provision herein contained, No extension of time for performance
of any obligation or act shall be deemed an extension of time for performance of any
other obligation or act except those of the waiving party, which shall be extended bya
period of time equal to the period of the delay. ,

(c) Discharge of Seller’s Obligations. The acceptance of the Quit Claim
Deed by Buyer shall be deemed to be a full performance and discharge of every
agreement and obligation on the part of Seller to be performed pursuant to the provisions
of this Agreement.

(d) Successors and Assigns. This Agreement shall be binding upon and
shail inure to the benefit of the successors and assigns of the parties hereto.

(ec) Professional Fees. If either party commences an action against the other
to interpret or enforce any of the terms of this Agreement or because of the breach by the
other party of any of the terms hereof, the losing party shall pay to the prevailing party
reasonable attorneys' fees, costs and expenses and court costs and other costs of action
incurred in connection with the prosecution or defense of such action, whether or not the
action is prosecuted to a final judgment. For the purpose of this Agreement, the terms
"attorneys' fees" or "attomeys' fees and costs" shall mean the fees and expenses of
counsel to the parties hereto, which may include printing, photostating, duplicating and
other expenses, air freight charges, and fees billed for law clerks, paralegals, librarians
and others not admitted to the bar but performing services under the supervision of an
attomey. The terms "attorneys' fees" or "attorneys' fees and costs” shall also include,
without limitation, all such fees and expenses incurred with respect to appeals,
arbitrations and bankruptcy proceedings, and whether or not any action or proceeding is
brought with respect to the matter for which said fees and expenses were incurred, The
term "attorney" shall have the same meaning as the term "counsel."

(f) Entire Agreement. This Agreement (including the preamble, Recitals
and all Exhibits attached hereto) is the final expression of, and contains the entire
agreement between, the parties with respect to the subject matter hereof and supersedes
all prior understandings with respect thereto with the exception of that certain Bilateral
Confidentiality Agreement effective as of February 1, 2011. This Agreement may not be
modified, changed, supplemented, superseded, canceled or terminated, nor may any
obligations hereunder be waived, except by written instrument signed by the party to be
charged or by its agent duly authorized in writing or as otherwise expressly permitted
herein. The parties do not intend to confer any benefit hereunder on any person, firm or
corporation other than the parties hereto and lawful assignees.

(g) Assignment. Prior to the Transfer of Title, Buyer may not assign its
right, title or interest in this Agreement to any other party without prior written notic
Seller.

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(h) Time of Essence. Seller and Buyer hereby acknowledge and agree that
time is strictly of the essence with respect to each and every term, condition, obligation
and provision hereof.

(i) Construction. Headings at the beginning of each paragraph and
subparagraph are solely for the convenience of the parties and are not a part of the
Agreement. Whenever required by the context of this Agreement, the singular shal]
include the plural and the masculine shall include the feminine and vice versa. This
Agreement shall not be construed as if it had been prepared by one of the parties, but
rather as if both parties had prepared the same. Buyer acknowledges and agrees that
Downey Brand LLP has been retained solely to represent the interests of Seller. Unless
otherwise indicated, all references to paragraphs, sections, subparagraphs and subsections
are to this Agreement. All exhibits referred to in this Agreement are attached and
incorporated by this reference.

(j) Governing Law. The parties hereto acknowledge that this Agreement
has been negotiated and entered into in the State of California. The parties hereto
expressly agree that this Agreement shall be governed by, interpreted under, and
construed and enforced in accordance with the laws of the State of California.

(k) Possession of Property. Subject to the Approved Condition of Title,
Buyer shall be entitled to the possession of the Property immediately following the
Effective Date.

(1) Counterparts. This Agreement may be executed in multiple
counterparts, each of which shal] be deemed an original, but all of which, together, shall
constitute one and the same instrument. For purposes of executing this Agreement, a
facsimile or PDF signature shall have the same force and effect as the original.
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(m) Limited Liability. The obligations of Seller, its agents,
representatives or employees, arising by virtue of this Agreement shall be limited to the
interest of Seller in the Property and there shall be no recourse against any other assets of
Seller, its agents, representatives or employees. In the event of a Seller breach, Buyer’s
sole and absolute remedy (regardless of the nature of the cause of action alleged) shall be
specific performance.

IN WITNESS WHEREOF, the parties have executed this Agreement the day and
year first above written.

BUYER: SELLER:

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EXHIBIT A - DOBBAS CROSSCLAIM
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EXHIBIT A

Description of Real Property

She following deroribed parcala of land are Jocated within the County of
Solano, State of California. -

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to tha southerly line of County Road Wueber Svo iimarcd Forty-six (246)
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Rehibit “AY Conttad, (Parcel swe)

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E. H. Harshell, Deputy County Surveyor, april ‘sth, 1070 and nov aprasritg
af record in Volume “L" of Haps, Page 44 thereof, Solano County psoords

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point of beginning,

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_ Bats hy
WHEN RECORDED MAIL TO - :
Jim Dobbas, Inc.
P.O. Box 177
Newcastle, CA 95658 Cv
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CLAIM DEED

FOR VALUABLE CONSIDERATION, Jim Dobbas, Inc., a California corporation ("Grantor"),
hereby RELINQUISHES, REMISES, RELEASES AND FOREVER QUITCLAIMS to David van Over,
an unmarried man ("Grantee"), all of Grantor’s right title and interest (subject to that certain Covenant to
Restrict Use of Property dated October 27, 1995/Recorders No. 1995-00068154 and including all
appurtenant rights, including mineral rights) in and to that certain real property, commonly known as
APNs 0142-042-010, 0142-010-130 and 0142-010-140, and more particularly described on Exhibit A
attached hereto and incorporated by this reference (the “Property”).

IN WITNESS WHEREOF, this Quitclaim Deed was executed on this the | | day of February,

2011. She. evita rs Guero 29s oiels ) cfocbargegs)
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President

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(Name and Title of Officer)
personally appeared —_Dovavo James Dogans . Who proved to

me on the basis of satisfactory evidence to be the personts) whose namefe) is/aresubscribed to the within instrument
and acknowledged to me that he/sheAthey executed the same in hisfsertheit authorized capacity(iee}, and that by
hisfhertheir signaturefs) on the instrument the person(s}; or the entity upon behalf of which the person(e) acted,
executed the instrument

| certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing paragraph is true

a col
: R. L. ROGERS
anyand official seal. fF ABS Commission # 1835712
ai (NOTARY SEAL) He as Notary Public - California
‘Oncor res,
{Notary Officer)

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EXHIBIT A
Description of Real Property

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EXHIBIT B
Quit Claim Deed

RECORDING REQUESTED BY
and
WHEN RECORDED MAIL TO

Jim Dobbas, Inc.
P.O. Box 177
Newcastle, CA 95658

(SPACE ABOVE THIS LINE RESERVED FOR RECORDER'S USE)

QUITCLAIM DEED

FOR VALUABLE CONSIDERATION, Jim Dobbas, Inc., a California corporation ("Grantor"),
hereby RELINQUISHES, REMISES, RELEASES AND FOREVER QUITCLAIMS to David van Over,
an unmarried man ("Grantee"), all of Grantor’s right title and interest (subject to that certain Covenant to
Restrict Use of Property dated October 27, 1995/Recorders No. 1995-00068154 and including all
appurtenant rights, including mineral rights) in and to that certain real property, commonly known as
APNs 0142-042-010, 0142-010-130 and 0142-010-140 and more particularly described on Exhibit A
attached hereto and incorporated by this reference (the “Property”).

IN WITNESS WHEREOF, this Quitclaim Deed was executed on thisthe __ day of February,
2011.

Jim Dobbas, Inc., a California
Corporation

By

Donald James Dobbas
Its:

President

On before me,
(Name and Title of Officer)

personally appeared , Who proved to
me on the basis of satisfactory evidence to be the person(s) whose name(s) Is/are subscribed to the within instrument
and acknowledged to me that he/she/they executed the same in his/her/their authorized cepacity(les), and that by
his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of which the person(s) acted,
executed the instrument

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EXHIBIT A - DOBBAS CROSSCLAIM
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| certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing paragraph is true
and correct.
WITNESS my hand and officialseal.

(NOTARY SEAL) 0)

(Notary Officer)
LID

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EXHIBIT C

Environmental Disclosure Document

1. Covenant to Restrict Use of Property dated 10.27.95

2. 2007 BEC Appraisal of the Property

3. Settlement Agreement dated 1984

4. Continental Rail Bankruptcy documents

5. Removal Action Workplan, Draft Final dated October 2009
6. Sampling & Analysis Plan - April 2009

7. Remedial Investigation Report - July 2008

8. Imminent &Substantial Endangerment Determination and Cover Letter dated
11.09.06

9, Operation and Maintenance Agreement 2.26.96
10. Wickes Final Lien_11_22 10

11.Collins and Aikman Bankruptcy Amended Disclosure Statement for the First
Amended Joint Plan

12, Background documents on Pacific Wood Preserving

13.2010 Draft Imminent and Substantial Endangerment Determination and Consent
Order and letter dated May 10, 2010

14.2006 Draft Imminent or Substantial Endangerment Determination Order and
Remedial Action Order and letter dated July 24, 2006

15. DTSC’s Proof of Claim in the Collins and Aikman Bankruptcy dated January 10,
2006

16. DTSC’s Supplement Statement in Support of Proof of Claim dated January 10,
2006

17.DTSC’s Summary of Site Conditions, “9/6/06 Meeting between DTSC and
Property Owners”

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18. Asphalt Cap Report dated March 1, 2005
19, Pilot Study Work Plan dated March 18, 2005

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EXHIBIT D
DTSC Notice Letter

February _, 2011
VIA FEDERAL EXPRESS

Department of Toxic Substances Control

1001 I Street

Sacramento, CA 95814-2828

Attention: Chief,

Northern California — Central Cleanup Operations Branch

Re; Former Wickes Forest Industries Site; 147 A Street, Ehnira, California
Dear Sir/Madam:

On February (insert Transfer of Title date), 2011, 1 acquired Jim Dobbas, Inc.’s fifty
percent (50%) interest in the above referenced property for one dollar ($1.00). On February
(insert Transfer of Title date), 2011, I acquired Continental Rail, Inc.'s fifty percent (50%)
interest in the above referenced property for one dollar ($1.00). I also agreed to comply with
all applicable environmental laws and all applicable regulatory agency directives pertaining
to the property and the releases from the former Wickes facility. In addition, I agreed to take
the property subject to DTSC’s lien on Jim Dobbas, Inc.’s interest in the property and assume
any liability Jim Dobbas, Inc. has for the lien. I write to provide my contact information and
to request a meeting with DTSC to discuss site conditions, my plans for the property and the
agency’s expectations.

Best Regards,

David van Over
216 F Street #108
Davis, CA 95616
Cell: 775.830.3888
Fax: 530.231.6372

ce: Elizabeth Yelland, DTSC (via E-Mail: EYelland@dtsc.ca.gov )
Ray Leclerc, DISC (via E-Mail: rleclerc@dtsc.ca.gov )
Marilee Hanson, DTSC (via E-Mail: MHanson@dtsc.ca.gov )
Don Dobbas, Jim Dobbas, Inc. (via E-Mail)
Nicole Gleason, Downey Brand (via E-Mail)

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